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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                              Case No. 2:23-md-3080 (BRM)(RLS)

  IN RE: INSULIN PRICING                      MDL No. 3080
  LITIGATION



  This Document Relates to:
  The State of Mississippi, ex rel. Lynn
  Fitch, Attorney General v. Eli Lilly and
  Company, et al.
  Case No. 2:23-cv-04364 (BRM)(RLS)

       MEMORANDUM OF LAW IN SUPPORT OF MANUFACTURER
      DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS
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                                   INTRODUCTION
         Mississippi’s complaint alleges that Eli Lilly and Company, Novo Nordisk

  Inc., and Sanofi-Aventis U.S. LLC (collectively, “Manufacturers”) conspired with

  pharmaceutical benefit managers (“PBMs”) to artificially inflate the list price of

  insulin, in what it describes as an “Insulin Pricing Scheme” (TAC ¶ 12). The

  complaint’s claims rest on the length of time analog insulin has been on the market,

  its purported production cost, and its allegedly minimal research and development

  costs—because, the complaint alleges, the “basic research” on insulin “was

  performed one hundred (100) years ago.” Because of these factors, the complaint

  alleges that the list prices of certain insulins are inflated and deceptive under state

  law.

         In four paragraphs that are little more than an afterthought, Mississippi (the

  “State”) also tries to sweep multiple novel non-insulin medications—glucagon-like

  peptide-1 receptor agonists (“GLP-1s”)—into its so-called “Insulin Pricing

  Scheme.” But all of the GLP-1s are on-patent. As such, the State’s challenge to the

  prices of GLP-1s is preempted by federal patent law, which encourages upfront

  investment in new medications by providing a 20-year period during which

  pharmaceutical companies and other innovators can recoup their investments

  through the prices they charge on the patented medications. By creating the patent

  system, Congress has preempted state laws that seek to regulate patented drug



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  pricing. State law cannot override that Congressional judgment. Accordingly, the

  State’s claims—which seek to regulate the prices of GLP-1s—are preempted.

        The State also does not, and cannot, allege wrongdoing with respect to GLP-

  1s. None of the allegations upon which the State relies to argue that insulin is priced

  unlawfully apply to GLP-1s, which are a newer class of drugs that required

  Manufacturers to invest substantially in research and development costs. Nor does

  the Third Amended Complaint (“TAC”) make any effort to plead any unlawful

  conduct as to GLP-1s. Indeed, the State’s 118-page complaint is silent about GLP-

  1s, other than a smattering of paragraphs that merely note what the medications are

  and a figure showing their prices. Because the complaint is devoid of any factual

  allegations suggesting wrongdoing involving GLP-1s, it fails to state a claim

  regarding them.

        The State’s claims as to GLP-1s are both preempted and also inadequately

  pled, which are independent grounds warranting judgment on the pleadings in favor

  of Manufacturers and dismissal of the State’s claims as to those products.1




  1
    The State’s claims regarding both insulin and GLP-1s are also non-cognizable,
  including for the reasons set forth in Manufacturer Defendants’ Supplemental Brief
  in Support of Motions to Dismiss in the State Attorney General Track (addressed to
  the Illinois and Montana complaints). Following the Court’s decision on the Illinois
  and Montana complaints, Manufacturers reserve the right to seek judgment on the
  pleadings as to the Mississippi complaint in its entirety.

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                                     BACKGROUND

      I.      Factual Background
           Manufacturers are pharmaceutical companies that research, develop,

  manufacture, and sell medications, including insulin, other diabetes treatments, and

  non-diabetes treatments. TAC ¶¶ 5, 44, 59, 73, 250. Their non-insulin medications

  include glucagon-like peptide-1 receptor agonists or GLP-1s.2 Id. ¶¶ 274–77 & Tbl.

  1 at 50. GLP-1s are novel, innovative medications that have been engineered to

  mimic a naturally produced hormone and can be used to treat Type 2 diabetes, among

  other conditions. Id. ¶¶ 274–76.

           The Mississippi Attorney General filed this suit on behalf of the State and

  Mississippi residents with diabetes under the parens patriae doctrine. The complaint

  alleges that Manufacturers and PBMs purportedly engaged in a long-running

  “Insulin Pricing Scheme”—a phrase that appears no fewer than 184 times in the

  complaint—that increased the prices the State and its citizens paid for insulin. E.g.,

  id. ¶¶ 278–80 (alleging that in “2003, PBMs began their rise to power” and in the

  “same year, the price of insulin began its dramatic rise to its current exorbitant

  level”); see also id. ¶¶ 349–65, 476–97. The State asserts three state-law claims


  2
    The complaint identifies the following four combination or non-insulin
  medications as being at-issue in the lawsuit: Victoza, Trulicity, Ozempic, and
  Soliqua. TAC ¶¶ 276–77 & Tbl. 1 at 50. Victoza, Trulicity, and Ozempic are GLP-
  1s. Id. ¶ 276. Soliqua is a combination of GLP-1 and analog insulin. Id. This brief
  uses the term “GLP-1s” to refer to all four of these medications.

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  against Manufacturers for violation of the Mississippi Consumer Protection Act

  (“MCPA”), unjust enrichment, and civil conspiracy. Id. ¶¶ 521, 529, 537.

        The core of the State’s factual allegations to support the purported “Insulin

  Pricing Scheme” are that: (1) insulin is a 100-year-old drug that has not

  “significantly improved over the last twenty (20) years” (id. ¶¶ 248, 250, 261, 264–

  66); (2) Manufacturers’ “production” and “research and development” (“R&D”)

  expenditures have not “increased” but rather “have decreased” for insulin in recent

  years (id. ¶ 267); and (3) despite the foregoing, the price of insulin has “dramatically

  increased” since 2003 (id. ¶¶ 278–86, 289–94). Indeed, part of the impetus for this

  suit was a report issued by the Senate Financing Committee about insulin pricing—

  entitled “Insulin: Examining the Factors Driving the Rising Cost of a Century Old

  Drug”—which the complaint cites extensively.             The Mississippi lawsuit also

  followed—and copied from—a consumer action and other suits bringing similar

  claims in this Court, all related to insulin pricing.3

        The complaint points to several studies and public documents that purport to

  estimate the production cost of insulin and claims that “all of the insulins at issue in

  this case have either been available in the same form since the late 1990s/early 2000s

  or are biologically equivalent to insulins that were available then.” Id. ¶¶ 263–69.


  3
    No such claims were asserted as to GLP-1s in the consumer case. See, e.g., In re
  Insulin Pricing Litig., 2024 WL 416500, at *4 (D.N.J. Feb. 5, 2024) (emphasizing
  that the pricing scheme alleged in that case involved “analog insulin products”).

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  The complaint also quotes representatives from Manufacturers and PBMs who

  testified before Congress in 2019 regarding “the rising cost of insulin.” Id. ¶¶ 366–

  76. These allegations discuss the history, R&D costs, and production costs of insulin.

        There are no allegations linking GLP-1s—a new category of drugs engineered

  after heavy investment in R&D and significant demand for non-diabetes use4—to

  the purported “Insulin Pricing Scheme” to inflate the price of a supposedly century-

  old drug. Rather, the complaint devotes a mere four paragraphs and one figure to

  GLP-1s. Id. ¶¶ 274–276, 295. The entirety of the facts pled as to GLP-1s are: (1)

  the timeframe—between 2010 and 2017—in which the medications were released

  (id. ¶ 275); (2) the alleged global revenues pertaining to the medications in 2018 and

  2019 (id. ¶¶ 45–46, 60–61, 74–75); (3) a chart showing the list prices of the

  medications (id. ¶ 295); and (4) a three-sentence description of how they work



  4
    See, e.g., TAC ¶ 270 (acknowledging that “research and development costs often
  make up a large percentage of the price of a drug”); see also STAFF OF S. COMM. ON
  FINANCE, 117TH CONG., INSULIN: EXAMINING THE FACTORS DRIVING RISING COSTS
  OF      A      CENTURY      OLD      DRUG       21      (Comm.       Print     2021),
  https://www.finance.senate.gov/imo/media/doc/Grassley-Wyden%20Insulin%C20
  Report%20(FINAL%201).pdf (hereafter, the “Senate Insulin Report”) (noting that
  as of 2016, Eli Lily “planned to devote a majority of its R&D spending on clinical
  trials for existing Type 2 diabetes drugs” such as Trulicity); id. at 23 (noting that
  Sanofi spent over $181 million on R&D for Soliqua between 2015 and 2018). The
  Senate Insulin Report is incorporated by reference in the complaint (TAC ¶ 384) and
  thus may be considered by the Court. See Buck v. Hampton Twp. Sch. Dist., 452
  F.3d 256, 260 (3d Cir. 2006) (courts may consider “any matters incorporated by
  reference”).


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medically (id. ¶ 276).

      Nor do the allegations regarding insulin apply to GLP-1s. In contrast to

insulin, GLP-1s are not “century old drug[s]” (id. ¶ 384). Rather, as the complaint

alleges, the first of them only entered the market in 2010. Id. ¶¶ 44, 274–76. These

medications were covered by patents at the time the State filed the lawsuit and

remain under patent,5 and Manufacturers spent significant amounts in R&D costs

bringing them to market (see supra note 4). Moreover, unlike insulin, GLP-1s have

been approved, marketed, and have significant benefits for non-diabetes uses, such

as supporting weight loss and treating cardiovascular events. E.g., Senate Insulin

Report at 21 & n.72 (noting that the “FDA approved Trulicity for the reduction of

major adverse cardiovascular events in adults with type 2 diabetes”); see also In re

Ozempic (Semaglutide) Patent Litig., 621 F. Supp. 3d 1354, 1354–55 (J.P.M.L. 2022)

(noting that physicians can prescribe semaglutide “for long-term weight

management”).




5
 All four GLP-1 medications the State places at issue (TAC ¶ 277 & Tbl. 1) are
covered by at least one patent: (1) Victoza: see, e.g., U.S. Patent No. 8,114,833; (2)
Trulicity: see, e.g., U.S. Patent Nos.7,452,966; 9,938,335; 10,709,766; 11,541,123;
11,834,486; (3) Ozempic: see, e.g., U.S. Patent Nos. 8,114,833; 8,129,343;
8,536,122; and (4) Soliqua: see, e.g., U.S. Patent Nos. RE45,313; 9,526,764;
9,707,176. See Choon’s Design, LLC v. WeCool Toys Inc., 2023 WL 6366325 at
n.2 (D.N.J. Sept. 29, 2023) (noting that courts “have taken judicial notice of patent
documents for purpose of a motion to dismiss because they are public documents”).

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   II.      Procedural History
         In October 2021, counsel who now represent plaintiffs in the State Attorney

General Track of this MDL filed a complaint in a Mississippi court on behalf of the

State. Compl., Mississippi v. Eli Lilly & Co. et al., No. 21-cv-00674 (S.D. Miss. Oct.

21, 2021) (“Mississippi Dkt.”), Dkt. 1-5.        During the Mississippi litigation,

Manufacturers moved to dismiss the complaint under Rule 12(b)(6) for failure to

state a claim. That motion advanced different arguments than this motion, including

that Mississippi failed to allege any misrepresentation as to any product because it

conceded that Manufacturers accurately report the list prices of their medications.

Mississippi Dkt. 84 at 14. The Mississippi court rejected that argument in just two

sentences, calling Manufacturers’ prices “exaggerated” without explanation, and

denied the motion. Mississippi Dkt. 111 at 13.

         The same counsel subsequently filed a motion to form this MDL. After this

MDL was formed, counsel for the State Attorney General Track argued (at the initial

case management conference) that they were entitled to a larger share of recovery in

these cases on the ground that their complaints also include non-insulin treatments

(i.e., the GLP-1s). 9/12/23 Case Management Conference, Tr. 22:24–10, 44:1–12.

In ongoing meet-and-confers, counsel for the State Attorney General Track has

asserted that they will insist on fulsome discovery as to these medications.




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                                 LEGAL STANDARD
        Under Federal Rule of Civil Procedure 12(c), a party may move for judgment

on the pleadings “after the pleadings are closed—but early enough not to delay trial.”

Fed. R. Civ. P. 12(c). A party may also move for partial judgment on the pleadings.

Haney-Filippone v. Agora Cyber Charter School, 538 F. Supp. 3d 490, 493 (E.D.

Pa. 2021).

        A Rule 12(c) motion is governed by the same standards as a Rule 12(b)(6)

motion. Bibbs v. Trans Union LLC, 43 F.4th 331, 339 (3d Cir. 2022). Thus, to

survive such a motion, a complaint must plead “sufficient factual matter to show that

the claim is facially plausible, thus enabling the court to draw the reasonable

inference that the defendant is liable for [the] misconduct alleged.” Id.; see also

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (a complaint must contain “sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face’”

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007))).

                                      ARGUMENT
        The Court should grant partial judgment for Manufacturers as to GLP-1

products for two independent reasons. First, all of the State’s claims as to GLP-1s

are preempted by federal patent law. Second, the State fails to plead any unlawful

conduct related to GLP-1s.

   I.      Claims as to GLP-1s Are Preempted by Federal Law
        The State’s claims as to GLP-1s are preempted by federal patent law under

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binding Federal Circuit precedent. The prices that Manufacturers are able to charge

for GLP-1s are governed by patent law, which gives Manufacturers a legal

exclusivity for a limited time in exchange for discovering and disclosing these

innovative new medications. Under Federal Circuit precedent, which is binding on

this Court as to issues of patent law, when state law “stands as an obstacle to the

accomplishment and execution of” federal law, the state law “must yield to

congressional enactments.” Biotechnology Indus. Org. v. D.C., 496 F.3d 1362, 1372

(Fed. Cir. 2007).6

      For patented products, Congress—not the states—is “the promulgator of

patent policy.” Id. at 1372–73. As the Federal Circuit has repeatedly explained,

“the Patent Act creates an incentive for innovation. The economic rewards during

the period of exclusivity are the carrot . . . . Upon grant of the patent, the only

limitation on the size of the carrot should be the dictates of the marketplace.” Id.

(quoting King Instruments Corp. v. Perego, 65 F.3d 941, 950 (Fed. Cir. 1995));

Sanofi-Synthelabo v. Apotex, Inc., 470 F.3d 1368, 1383 (Fed. Cir. 2006) (same);

Ultra-Precision Mfg. v. Ford Motor Co., 411 F.3d 1369, 1378 (Fed. Cir. 2005)

(same); see also Schor v. Abbott Labs., 457 F.3d 608, 610 (7th Cir. 2006) (“a patent



6
  “Federal Circuit law governs whether federal patent protections preempt a state
law claim.” Southeastern Pa. Transp. Auth. v. Gilead Scis., Inc., 102 F. Supp. 3d
688, 702 (E.D. Pa. 2015) (citing Ultra Precision Mfg., Ltd. v. Ford Motor Co., 411
F.3d 1369, 1376 (Fed. Cir. 2005)).

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holder is entitled to charge whatever the traffic will bear”). Congress balances the

“disparate goals” of rewarding innovation and “keep[ing] prices reasonable,”

Biotechnology, 496 F.3d at 1373, by granting innovators of new medications patents

with exclusive rights for a limited period—after which others can enter the market.

State law claims that seek to “penaliz[e] high prices—and thus limit[] the full

exercise of the exclusionary power that derives from a patent” are an improper

attempt to “re-balance the statutory framework of rewards and incentives” that

Congress created. Id. at 1373-74. Thus, such claims are preempted.

      Another court in this Circuit applied this Federal Circuit precedent to squarely

reject an attempt to use state law to allege—like Mississippi does here—that the

price of on-patent prescription drugs was “excessive, . . . exorbitant and inflated.”

Southeastern Pa. Transp. Auth. v. Gilead Sciences, Inc., 102 F. Supp. 3d 688, 696

(E.D. Pa. 2015). The court held that state law claims were preempted because

“plaintiffs simply cannot invoke state law to challenge [the defendant’s] overall

pricing scheme for its patented drugs.” Id. at 707; see also id. at 707-08 (explaining

that “federal patent law preempts the use of state law to reassess or challenge the

balance Congress has struck between patent rights and public access”). As the court

explained, “Federal patent law contemplates the tradeoffs between exclusivity and

access, and plaintiffs cannot use state law to adjust that balance by forcing [the

manufacturer] to lower its prices or disgorge profits from the sale of its patented



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drugs.” Id. at 703.

      Mississippi makes the same claims here, alleging that Defendants’ “scheme”

has rendered the price of diabetes medications, including GLP-1s, “excessive,”

“exorbitant,” and “grossly inflated and false.” TAC ¶¶ 30, 279, 359, 361, 522. As

the State alleges, the premise of the “Insulin Pricing Scheme” is that “Manufacturer

Defendants artificially and willingly raise their prices,” which has led to

“outrageously inflated price[s]” from which “Defendants . . . profit immensely.” Id.

¶¶ 17–18, 20. According to the State, “the price increases of [insulin] are untethered

from market fundamentals, i.e., unrelated to legitimate cost increases or changes in

supply and demand.” Mississippi Dkt. 98, Pl.’s Mem. in Opp’n to Defs.’ 12(b)(6)

Mot. to Dismiss, at 13. Its suit seeks to create a new system that would lead to lower

prices that the complaint describes as prescribing a “legal, competitive, and fair

market value.” TAC ¶ 522.

      This attempt is squarely preempted as to patented drugs because it seeks to

change the way Manufacturers price their patented medications. As Gilead held,

“plaintiffs cannot use state law to . . . forc[e] [a drug manufacturer] to lower its

prices.” 102 F. Supp. 3d at 703; see also Biotechnology Indus., 496 F.3d at 1374

(holding that federal law preempted a D.C. law regulating price of patented

prescription drugs). Nor can plaintiffs seek to “disgorge profits from the sale of

[Manufacturers’] patented drugs”—but that is exactly what Mississippi’s prayer for



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relief seeks, insofar as it asks for “restitution” and “disgorgement” that (it alleges)

“is available under the state laws set forth in [the] Complaint.” Compare Gilead,

102 F. Supp. 3d at 703, with TAC at § IX.B. Partial judgment on the pleadings to

dismiss claims related to GLP-1s from this suit is therefore appropriate. In re

Fosamax (Alendronate Sodium) Prod. Liab. Litig. (No. II), 751 F.3d 150, 164–65

(3d Cir. 2014) (affirming grant of Rule 12(c) motion on the basis that plaintiffs’ state

law claims were preempted by federal law).

      None of the State’s cases, Dkt. 142 at 3, are to the contrary. Plaintiffs in each

of those cases alleged “misconduct in the marketplace,” like fraudulent conduct

before the United States Patent and Trademark Office, pay-for-delay settlements and

bad-faith enforcement of expiring patents, which blocked or delayed competition

from cheaper products and, as an indirect result, drove market prices up. In re:

EpiPen Mktg. Sales Pracs., and Antitrust Litig., 336 F. Supp. 3d 1256, 1334 (D. Kan.

2018); see also In re DDAVP Indirect Purchaser Antitrust Litig., 903 F. Supp. 2d

198, 217 (S.D.N.Y. 2012) (bad-faith patent enforcement and sham patent

infringement litigation); In re Loestrin 24 Fe Antitrust Litig., 261 F. Supp. 3d 307,

356-57 (D.R.I. 2017) (fraudulently procured patent); Picone v. Shire PLC, 2017 WL

4873506, at *14 (D. Mass. Oct. 20, 2017) (pay-for-delay settlements). In fact, the

EpiPen plaintiffs themselves explicitly disclaimed any challenge to defendants’

“rights under the patent laws to make [their own] pricing decisions.” EpiPen, 336



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F. Supp. 3d at 1333. The claims brought here by the State, by contrast, directly

challenge Manufacturers’ pricing decisions, and so are preempted as to patented

products.

   II.      The State Fails to Allege Any Unlawful Conduct as to GLP-1s
         The State’s claims independently fail because it does not adequately plead any

unlawful conduct as to GLP-1s. The factual allegations underlying the State’s

claims of unlawful conduct pertain solely to insulin and are absent as to GLP-1s,

which (as the State necessarily acknowledges) are not insulins.

         The MCPA prohibits “unfair or deceptive trade practices in or affecting

commerce.” Miss. Code § 75-24-5(1)–(2). Unjust enrichment and civil conspiracy

likewise both require allegations of wrongdoing. Unjust enrichment requires a

showing that the defendant possesses “money or property which in good conscience

and justice he should not retain.” Holmes v. Lankford, 358 So. 3d 645, 653 (Miss.

Ct. App. 2023). And to “state a claim for civil conspiracy,” the State must allege

“one or more unlawful overt acts.” Emmerich Newspapers, Inc. v. Particle Media,

Inc., 2022 WL 843209, at *4 (S.D. Miss. Mar. 21, 2022).

         The State alleges that it satisfies all of these requirements because

Manufacturers violated state law by reporting “false” or inflated prices that they set

for insulin, which were “not legal, competitive or at fair market value.” TAC ¶ 522

(citing Miss. Code § 75-24-5(2)(e)). Insulin prices, the State argues, do not reflect



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the fair market value because “production costs of insulin have decreased” over the

last ten years, id. ¶ 267; because insulin’s “basic research . . . was performed one

hundred (100) years ago” and its “more recent” improvements were completed

“decades ago,” id. ¶¶ 270–71; and because insulin has “been available in the same

form since the late 1990s/early 2000s.” Id. ¶ 265. The Mississippi court relied on

those allegations in denying Manufacturers’ motion to dismiss, concluding that “the

State delineates each Manufacturer Defendant’s alleged participation in the ‘Insulin

Pricing Scheme,’” including by alleging “knowledge, and intent.” Mississippi Dkt.

111 at 14 (citing, among other allegations, TAC ¶¶ 265, 267, and 270–71).

      Whatever may be said of those allegations as to insulin, none of them are

applicable to GLP-1s. The State does not include any allegations related to GLP-1s

that would support its claims. In fact, the State makes no attempt whatsoever to

allege any causal nexus between the supposed “Insulin Pricing Scheme” and the

pricing of GLP-1s. It does not claim that GLP-1s share any of the characteristics

that allegedly make insulin’s prices unfair, such as their age. Nor could it make such

allegations. GLP-1s are new drugs—the oldest of them was approved by the FDA

in 2010. TAC ¶ 277 Tbl. 1. And unlike the “Insulin Pricing Scheme”—an alleged

feature of which is low research and development costs related to insulin, which the

State alleges should lead to lower prices—the State alleges that “research and

development costs” are often “large” for new drugs, differentiating them from the



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insulins underlying the State’s claims. Id. ¶ 270. Because it does not allege any

wrongdoing with regard to GLP-1s, the State’s claims as to those products should

be dismissed.

      At most, the State alleges that Manufacturers pay rebates to PBMs in

connection with formulary access for insulins and GLP-1s, creating a delta between

the list price of these drugs and their net price after accounting for rebates. But that

is true of every branded pharmaceutical in America. If such an allegation were

enough to state a claim, then every manufacturer that sells any branded drug in the

United States could be sued as part of the same “Insulin Pricing Scheme.” That

conclusory allegation cannot be enough to state a viable cause of action, because it

does not support a plausible inference of wrongdoing as to the pricing of GLP-1s.

See Iqbal, 556 U.S. at 679 (requiring dismissal where “the well-pleaded facts” do

not “plausibly give rise to an entitlement to relief”).

                                   CONCLUSION
      For the reasons stated above, the Court should enter partial judgment on the

pleadings in Manufacturers’ favor as to GLP-1s.




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Dated: June 7, 2024

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                         CERTIFICATE OF SERVICE

      I certify that I am an Attorney at Law of the State of New Jersey and a Member

of the Bar of this Court and that on this date I caused a copy of this document to be

served on all counsel of record in the above-captioned matter via ECF filing.


                                                 /s/ Brian W. Carroll
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